AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                   __________  DistrictofofTennessee
                                                                            __________

                     Dee Anne Reynolds                               )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 3:15-cv-265
             Knox County Government, et al.                          )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              The Plaintiff Dee Anne Reynolds recover from the Defendant, Knox County and Knoxville/Knox County
               Metropolitan Planning Commission the amount of Eight Hundred Thousand Dollars ($800,000.00).
                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

u decided by Judge                                                                             on a motion for

                                                                                                                                     .

Date:     8/23/2016                                                         CLERK OF COURT


                                                                            s/B. Ramsey
                                                                                          Signature of Clerk or Deputy Clerk


 ENTERED AS A JUDGMENT
    s/ Debra C. Poplin
   CLERK OF COURT




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